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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )           CASE NO. 8:02CR76
                                           )
                    Plaintiff,             )
                                           )
      vs.                                  )                 JUDGMENT
                                           )
                                           )
ELEODOR LOPEZ-URIAS,                       )
                                           )
                    Defendant.             )

      Pursuant to the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 245);

      2.     Upon initial review, the Court summarily dismisses the Defendant's claims

raised in the § 2255 motion; and

      3.     The Clerk shall mail a copy of this Judgment to the Defendant at his last-

known address.

      DATED this 19th day of September, 2005.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
